 

case 2:02-cr+3/qo@p'pt§@ @m@p§§ W§OT/p§/@FMWVP&Q€|D 83

Western District of Tennessee

United states et Americtt oRDER HoLDING PRoBATroNi§li:ED BY APN.:_U.*¢.'

FoR REvoCATIoN HEARING 1

v. 05 JUL -5 PH t= It5
Charmane Jones Case Number: 02-20098-B GEHMSW§TWD:

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On June 30, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant was or had been advised
of his rights under Rules 5 and 32.1(3)(1), Federal Rules of Criminal Procedure, and appeared
with counsel, Murray Wells, who was retained.

The defendant had appeared for an initial appearance on 06/27/05 in the Northern District
of Mississippi. At that hearing, the defendant was released on bond and therefore, a preliminary

hearing on the violation was not required. See United States v. Sciuto, 531 F.Zd 842, 846 (7th

 

er. 1976); United States v. Tucker, 524 F.Zd 77, 78 (5th Cir. 1975), cert. denied, 424 U.S. 966,

 

96 S.Ct. 1462, 47 L.Ed.2d 733(1976). However, a preliminary hearing had been set by the
Northern District of Mississippi in this court for June 30, and at that time the defendant submitted
a Waiver of preliminary examination

Accordingly, the defendant is held to a final revocation hearing before Judge J. Daniel
Breen. It is presumed that the United States District Court Will set this matter for a revocation
hearing pursuant to Federal Rule of Criminal Procedure 32.1(a)(2), and will see that appropriate

notices are given.

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S. Thomas Anderson, United States Magistrate Judge

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This notice confirms a copy of the document docketed as number 54 in
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Honorable J. Breen
US DISTRICT COURT

